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   IT IS ORDERED as set forth below:



   Date: September 23, 2019
                                                               _____________________________________
                                                                             Paul Baisier
                                                                     U.S. Bankruptcy Court Judge

  _______________________________________________________________

                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                            : CASE NO 19-64835-PMB
                                  : CHAPTER 13
                                   :
                                   :
BONNIE ROSE                        :
     Debtor                        :
-------------------------------- -- --------------------------------
WVMF FUNDING, LLC,                :
     Movant,                       :
                                  : CONTESTED MATTER
vs.                                :
                                   :
                                   :
BONNIE ROSE                        :
MELISSA J. DAVEY, Trustee          :
     Respondents.                  :
                                  :

                       ORDER UNDER § 362(c)(4)(A)(ii) CONFIRMING
                        THE AUTOMATIC STAY IS NOT IN EFFECT

        Movant filed a Motion for Order Under §362(c)(4)(A)(ii) Confirming No Automatic

Stay is in Effect o n S e p t e m b e r 1 9 , 2 0 1 9 [ D k t . n o . 8] . M o v a n t seeks an order under

11 U.S.C. § 362(c)(4)(A)(ii) confirming that upon and since the filing of this case, the

automatic stay did not go into effect.
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       Debtor was a Debtor in two prior cases that were both dismissed within the one-year

period preceding the filing of this case. Debtor filed Case No. 18-70420 on December 4,

2018 which was dismissed on January 28, 2019. Debtor also filed Case No. 19-57109 on May 6,

2019 which was dismissed on May 23, 2019. Neither of the prior cases was a Chapter 7

case dismissed pursuant to 11 U.S.C. § 707(b), and no order has been entered pursuant

to 11 U.S.C. § 362(c)(4)(B) imposing the stay. Accordingly, the automatic stay under § 362(a)

did not go into effect upon or since the filing of this case and, as of the date hereof, no order

has been entered imposing a stay.


                                        [END OF DOCUMENT]
Prepared and Submitted by:


/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
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Bonnie Rose
3019 Saint Andrews Ct.
Jonesboro, GA 30236

Melissa J. Davey
Standing Chapter 13 Trustee
260 Peachtree Street, NW
Suite 200
Atlanta, GA 30303

Lisa F. Caplan, Esq.
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
